                Case 18-14821-LMI       Doc 58     Filed 09/27/18     Page 1 of 10




                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

 In re:                                            Case No.: 18-14821-LMI

 WILL ZAMORA,                                      Chapter 13

           Debtor.
                                               /

                  CREDITOR TIMOTHY MOSLEY’S NOTICE OF FILING
                   POLICE REPORT FOR OCTOBER 2, 2018 HEARING

          Creditor Timothy Mosley (“Mosley”), submits the Police Report (the “Report”), filed in
relation to Mosely’s residence (the “Property”), concerning the theft and damages caused by the
pre- and post-petition actions of the Debtor Will Zamora (the “Debtor”) at Mosley’s residence.
The attached Report also reflects on-going vandalism in the last month relating to a former tenant,
likely the Debtor, breaking onto the Property and causing damage to the gate, in order to retrieve
mail addressed to the Debtor from the mailbox. Mosley believes that the information contained in
the Report as it relates to the Property is germane to the pending hearing before the Court.
          I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for
the Southern District of Florida, and I am in compliance with the additional qualifications to
practice in this Court as set forth in Local Rule 2090-1(A).
          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to
the parties listed below in the manner indicated, on this the 27th day of September, 2018.
                                              STEVEN FENDER P.A.

                                              /s/ G. Steven Fender
                                              G. STEVEN FENDER, ESQ.
                                              Florida Bar No. 060992
                                              Attorney for Creditor Timothy Mosley
                                              P.O. Box 1545
                                              Ft. Lauderdale, FL 33302
                                              Telephone: (407) 810-2458
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Electronic Mail Notice List


1
                 Case 18-14821-LMI     Doc 58       Filed 09/27/18   Page 2 of 10



         Sandra Navarro-Garcia            snglawcourt@yahoo.com
         Office of the U.S. Trustee       USTPRegion21.MM.ECF@usdoj.gov
         Nancy K. Neidich                 e2c8f01@ch13miami.com; ecf@chapter13.com
Via U.S. Mail
Will Zamora
850 N. Miami Avenue, Apt. 1510
Miami, FL 33136-3545

and

Via Electronic Mail
wzamora@bsuniverse.com




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Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 3 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 4 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 5 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 6 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 7 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 8 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 9 of 10
Case 18-14821-LMI   Doc 58   Filed 09/27/18   Page 10 of 10
